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   Attorneys for Plaintiff,
 6
   JANE DOE
 7
 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11 JANE DOE, individually and on behalf of        CASE NO: 8:20-cv-858
   others similarly situated,
12
13                      Plaintiff,

14                         v.                     CLASS ACTION COMPLAINT
15 DONALD J. TRUMP, in his individual
16 and official capacity as President of the
   United States; MITCH MCCONNELL, in
17 his individual and official capacity as a
18 Senator and Sponsor of S. 3548 CARES
   Act; and STEVEN MNUCHIN, in his
19 individual and official capacity as the
20 Acting Secretary of the U.S. Department
   of Treasury; CHARLES RETTIG, in his
21 individual and official capacity as U.S.
22 Commissioner of Internal Revenue; U.S.
   DEPARTMENT OF THE TREASURY;
23 the U.S. INTERNAL REVENUE
24 SERVICE; and the UNITED STATES OF
   AMERICA,
25                            Defendants.
26
          NOW COMES Plaintiff, JANE DOE, (hereinafter “Doe” or “Plaintiff”),
27
   individually and on behalf of the proposed class, by and through her attorneys, Blaise
28
   & Nitschke, P.C., and submits her class action complaint against DONALD J.
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                                     CLASS ACTION COMPLAINT
 1 TRUMP, in his individual and official capacity as President of the United States;
 2 MITCH MCCONNELL, in his individual and official capacity as United States
 3 Senator and the Sponsor of S. 3548 CARES Act; STEVEN MNUCHIN, in his
 4 individual and official capacity as the Acting Secretary of the U.S. Department of
 5 Treasury; CHARLES RETTIG, in his individual and official capacity as U.S.
 6 Commissioner of Internal Revenue; U.S. DEPARTMENT OF THE TREASURY; the
 7 U.S. INTERNAL REVENUE SERVICE; and the UNITED STATES OF AMERICA
 8 (hereinafter collectively referred to as “Defendants”). In furtherance whereof,
 9 Plaintiff states as follows:
10                                NATURE OF THE CASE
11         This is a class action based upon Defendants’ unconstitutional deprivation of
12 the rights, privileges, benefits and/or protections provided to United States Citizens,
13 via the enactment and subsequent enforcement of the S. 3548-Coronavirus Aid,
14 Relief, and Economic Security Act (hereinafter “CARES Act”), both enactment and
15 enforcement of which evidence the discriminatory purpose and intent of said Act.
16         Plaintiff is an individual who possesses a social security number and whose
17 spouse lacks a social security number. Pursuant to 26 U.S.C. § 6428 (g)(1)(B),
18 enacted as part of the CARES Act, Plaintiff receives no recovery payment under 26
19 U.S.C. § 6428 (a) even though she and her children are U.S. citizens.
20         Plaintiff seeks a declaration that 26 U.S.C. § 6428 (g)(1)(B), as enacted by
21 Section 2101 of the CARES Act, is unconstitutional. Plaintiff further seeks class-
22 wide relief enjoining enforcement of 26 U.S.C. § 6428 (g)(1)(B), as enacted by
23 Section 2101 of the CARES Act, as written and further requiring Defendants to treat
24 Plaintiff, and those similarly situated, the same as other married individuals.
25                                         PARTIES
26         1.    Plaintiff JANE DOE is a U.S. citizen who at all times mentioned in this
27 Complaint resided in the Central District of California. Plaintiff has a social security
28 number and her spouse does not have a social security number.
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 1         2.    That “Jane Doe” is not Plaintiff’s actual name, but rather is a fictitious
 2 name for an actual person as herein described, in order to protect her actual identity,
 3 which is protected under the Fifth Amendment and the facts alleged herein.
 4         3.    Defendant, DONALD J. TRUMP, in his individual and official capacity
 5 as President of the United States, is the President of the United States who signed the
 6 CARES Act into law on March 27, 2020.
 7         4.    Defendant, MITCH MCCONNELL, in his individual and official
 8 capacity as United States Senator, is the Sponsor of S. 3548-CARES Act, and
 9 introduced it in the United States Senate (“Senate”) on March 19, 2020.
10         5.    Defendant, STEVEN MNUCHIN, in his individual and official capacity,
11 is the Acting Secretary of the U.S. Department of Treasury. In that capacity, among
12 other things, he oversees the collection of revenue, the preparation of plans for the
13 improvement and management of the revenue and the preparation and report of
14 estimates of the public revenue and public expenditures. As Secretary, Defendant
15 Mnuchin exercises full authority to administer and enforce the internal revenue laws
16 and has the power to create an agency to enforce these laws. As part of his duties,
17 Defendant Mnuchin oversees the issuance of recovery payments to eligible
18 individuals under the CARES Act.
19         6.    Defendant, CHARLES RETTIG, in his individual and official capacity,
20 is the United States Commissioner of Internal Revenue. In that capacity, Defendant
21 Rettig administers the application of the internal revenue laws and tax conventions to
22 which the United States is a party. 26 U.S.C. § 7803. Defendant Rettig reports to the
23 Secretary of the Treasury, Defendant Mnuchin. As part of his duties, Defendant
24 Rettig oversees the issuance of recovery payments to eligible individuals under the
25 CARES Act.
26         7.    Defendant U.S. DEPARTMENT OF THE TREASURY is an agency of
27 the U.S. government. The U.S. Department of the Treasury operates and maintains
28 systems that are critical to the nation's financial infrastructure, such as the production
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                                       CLASS ACTION COMPLAINT
 1 of coin and currency, the disbursement of payments to the American public, revenue
 2 collection, and the borrowing of funds necessary to run the federal government.
 3         8.       Defendant U.S. INTERNAL REVENUE SERVICE is a bureau of the
 4 U.S. Department of the Treasury organized to carry out the responsibilities of the
 5 Secretary of the Treasury under section 7801 of the Internal Revenue Code. The
 6 Internal Revenue Service was created based on the legislative grant of authority to the
 7 Secretary of the Treasury to enforce the internal revenue laws. The IRS calculates and
 8 sends recovery payments to those eligible under the CARES Act.
 9         9.       Defendant, United States of America, acted through its agencies U.S.
10 DEPARTMENT OF THE TREASURY and U.S. INTERNAL REVENUE SERVICE
11 with respect to this matter.
12         10.      Defendants are each sued in their individual and official capacities and
13 are the persons, offices, and/or agencies most responsible for the conduct alleged
14 herein.
15         11.      Each of the Defendants had actual and/or constructive knowledge of the
16 acts of the other Defendants as described herein, and ratified, approved, joined in,
17 acquiesced in, and/or authorized the acts of the other, and/or retained the benefits of
18 the said acts.
19                               JURISDICTION AND VENUE
20         12.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331
21 and 1343 over Plaintiff’s causes of action arising under the United States Constitution
22 (the “Constitution”).
23       13. This Court may grant Plaintiff’s request for declaratory relief and
24 injunctive relief under 28 U.S.C. §§ 2201 and 2202.
25       14. Venue is appropriate in the United States District Court for the Central
26 District of California pursuant to 28 U.S.C. §1391(b) because 1) a substantial part of
27 the events giving rise to the claims alleged herein occurred in this judicial district,
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                                        CLASS ACTION COMPLAINT
 1 and 2) Plaintiff Doe resides within this District and no real property is involved in
 2 this action.
 3         15.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1343,
 4 which gives the district court original jurisdiction over civil rights claims.
 5         16.    The United States cannot assert sovereign immunity for this action for
 6 declaratory and injunctive relief against its agencies, and the agencies’ officers,
 7 pursuant to 5 U.S.C. § 702.
 8                                STATEMENT OF FACTS
 9         17.    On March 13, 2020, President Donald J. Trump declared the 2020
10 coronavirus global pandemic (“COVID-19”) a national emergency. Proclamation on
11 Declaring a National Emergency Concerning the Novel Coronavirus Disease
12 (COVID-19) Outbreak, WHITEHOUSE.GOV (March 13, 2020), https://www.
13 whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-
14 concerning-novel-coronavirus-disease-covid-19-outbreak/ (last visited April 30,
15 2020).
16         18.    This civil rights action challenges the CARES Act on constitutional
17 grounds. The CARES Act denies tax-paying U.S. citizens their rights, privileges,
18 benefits and/or protections embodied in § 2101 of the CARES Act which, as part of
19 its provisions, amends Subchapter B of chapter 65 of subtitle F of the Internal
20 Revenue Code of 1986, by adding a new section 6428, entitled “2020 Recovery
21 Rebates For Individuals” (“Sec. 6428”). S. 3548, 116th Cong. (2020).
22         19.    Sec. 6428 is codified at 26 U.S.C. § 6428.
23         20.    The CARES Act was introduced in the Senate on March 19, 2020 by
24 Mitch McConnell (for himself, Mr. Alexander, Mr. Crapo, Mr. Grassley, Mr. Rubio,
25 Mr. Shelby, and Mr. Wicker). S. 3548, 116th Cong. (2020).
26         21.    The CARES Act was signed into law by President Donald J. Trump on
27 March 27, 2020. Statement by the President, WHITEHOUSE.GOV (March 27, 2020)
28
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                                      CLASS ACTION COMPLAINT
 1 https://www.whitehouse.gov/briefings-statements/statement-by-the-president-38/
 2 (last visited Apr 24, 2020).
 3        22.      The CARES Act full title reads: “To provide emergency assistance and
 4 health care response for individuals, families, and businesses affected by the 2020
 5 coronavirus pandemic.” S. 3548, 116th Cong. (2020).
 6        23.      Sec. 6428 authorizes the Internal Revenue Service to disburse $1,200.00
 7 to each “eligible individual" earning up to $75,000.00 in adjusted gross income who
 8 have a Social Security number, and an additional $500.00 for each child under the
 9 age of 17 (hereinafter “the Stimulus Check”). 26 U.S.C. § 6428.
10        24.      Sec. 6428 authorizes the Internal Revenue Service to disburse $2,400.00
11 to “eligible individuals filing a joint return” when earning up to $150,000.00 in
12 adjusted gross income. 26 U.S.C. § 6428.
13        25.      Sec. 6428(c) lessens these amounts for individuals making more than
14 $75,000.00 and married couples filing jointly who make more than $150,000.00. 26
15 U.S.C. § 6428(c)
16        26.      Sec. 6428, through a combination of provisions, excludes otherwise
17 qualified individuals from receiving the CARES Act Stimulus Checks solely because
18 their spouses lack social security numbers.
19        27.      The Stimulus Checks include Defendant Trump’s name. Defendant
20 Mnuchin admits that the inclusion of Defendant Trump’s name on the Stimulus
21 Checks was Defendant Mnuchin’s idea. Devan Cole, Mnuchin Says Putting Trump’s
22 Name on Coronavirus Stimulus Checks Was His Idea, CNN (April 20, 2020),
23 https://www.cnn.com/2020/04/19/politics/steven-mnuchin-trump-name-stimulus-
24 checks-cnntv/index.html (last visited May 1, 2020).
25       28. To be eligible to receive a payment, an individual:
26        ●     must be a U.S. citizen, permanent resident or qualifying resident alien;
27        ●     cannot be claimed as a dependent on someone else’s return;
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                                        CLASS ACTION COMPLAINT
 1        ●     must have a Social Security number (“SSN”) that is valid for employment
 2              (“valid SSN”)
 3              o   Exception: If either spouse is a member of the U.S. Armed Forces at any
 4                  time during the taxable year, then only one spouse needs to have a valid
 5                  SSN;
 6              and
 7        ●     must have an adjusted gross income below an amount based on his or her
 8              filing status and the number of his or her qualifying children.
 9 Economic Impact Payment Information Center, IRS.GOV (April 24, 2020)
10 https://www.irs.gov/coronavirus/economic-impact-payment-information-center (last
11 visited April 24, 2020).
12        29.       Under Sec. 6428 (d), Plaintiff is defined as an “eligible individual”
13 because she is neither a “nonresident alien individual” nor a dependent child.
14        30.       Plaintiff Jane Doe’s children are also defined as “qualifying” for the
15 Stimulus Checks under Sec. 6428 (a)(2) because the children are under the age of 17
16 and live in the United States. 26 U.S.C. § 6428 (c) (2020).
17        31.       However, Section 6428 (g)(1)(B) also requires an eligible individual’s
18 spouse to have provided a “valid identification number” on the most recent tax return
19 filed jointly with the IRS.
20        32.       Section 6428 (g)(2) (the “Exclusion Provision”) defines a “valid
21 identification number” for an adult as a social security number.
22        33.       Secs. 6428(g)(1)(B) and (g)(2) operate together to require both spouses
23 filing jointly to have social security numbers in order for any member of the family,
24 including the qualifying children, to be eligible for the Stimulus Checks.
25        34.       Any family that files a joint tax return where one of the spouses has a
26 Social Security number and one has an Individual Taxpayer Identification Number
27 (“ITIN”), which the Internal Revenue Service issues to workers who lack Social
28 Security numbers, cannot receive a Stimulus Check — unless one spouse is a member
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 1 of the U.S. Armed Forces. Jenny Jarvie, These U.S. Citizens Won’t Get Coronavirus
 2 Stimulus Checks – Because Their Spouses Are Immigrants, LOS ANGELES TIMES
 3 (April 20, 2020), https://www.latimes.com/world-nation/story/2020-04-20/u-s-
 4 citizens-coronavirus-stimulus-checks-spouses-immigrant (last visited April 24, 2020).
 5         35.   There are 1.2 million Americans married to immigrants who do not hold
 6 Social Security numbers. Profile of the Unauthorized Population: United States,
 7 MIGRATION POLICY INSTITUTE, https://www.migrationpolicy.org/data/unauthorized-
 8 immigrant-population/state/US (last visited May 2, 2020).
 9         36.   Of the 1.2 million Americans, those who file joint tax returns and are not
10 in the military are ineligible for a Stimulus Check and deprived of the right(s),
11 benefit(s) and/or privilege(s) conferred upon all other U.S. citizens who otherwise
12 qualify.
13         37.   Plaintiff is a U.S. citizen who earns less than $75,000.00 in adjusted
14 gross income, whose children are also U.S. citizens, and is excluded from the
15 government’s $2 trillion coronavirus financial relief package because she files her
16 taxes jointly with her spouse (hereinafter referred to collectively as a “Mixed-status
17 Family”), an immigrant who does not have a Social Security number.
18         38.   Plaintiff is married to an immigrant who pays taxes and files tax returns
19 with an Individual Taxpayer Identification Number. The Mixed-status Family files
20 joint tax returns and neither are in the military.
21         39.   On her most recent tax returns, Plaintiff provided her social security
22 number, which is required by Sec. 6428 (g)(1)(A) in order for an eligible individual
23 to receive a Stimulus Check. Plaintiff also provided her children’s social security
24 numbers, which is required by Sec. 6428 (g)(1)(C) in order for payments for
25 qualifying children to be included to receive a Stimulus Check. Plaintiff also
26 provided the ITIN of her spouse on the tax returns.
27       40. However, as a result of Sec. 6428 (g)(1)(B), although Plaintiff and her
28 children are U.S. citizens, and Plaintiff would otherwise have received a Stimulus
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                                       CLASS ACTION COMPLAINT
 1 Check under Sec. 6428 (a), Plaintiff did not receive a Stimulus Check because her
 2 spouse lacks a social security number.
 3        41.    But for her spouse lacking a social security number, Plaintiff Doe would
 4 have received a Stimulus Check for herself and her children under the CARES Act.
 5        42.    Had Plaintiff not been married to an immigrant with an Individual
 6 Taxpayer Identification Number, Plaintiff and her children would have otherwise
 7 qualified for a Stimulus Check.
 8        43.    There is no mechanism by which Plaintiff can dispute the government’s
 9 decision to deny her a Stimulus Check.
10        44.    During the House of Representatives debate on the CARES Act,
11 Representative TJ Cox pointed out what he called “this bill’s glaring shortcomings”
12 which included the fact that the bill “punishes mixed-status households and denies
13 some American citizens benefits they deserve.” 166 Cong. Rec. H1841 (daily ed.
14 Mar. 27, 2020) (statement of Rep. Cox of CA).
15        45.    The original Senate version of the CARES Act, S. 3548, required all
16 married joint filers to include social security numbers for both spouses. However, the
17 Senate created an exception for cases in which “at least 1 spouse was a member of the
18 Armed Forces of the United States at any time during the taxable year and at least 1
19 spouse [has a social security number].” Sec. 6428 (g)(3). The exception for military
20 Mixed-status Families appeared in the Senate’s final version of the CARES Act, H.R.
21 748, and was enacted into law.
22        46.    Neither Plaintiff nor her spouse was a member of the Armed Forces of
23 the United States at any time during the taxable year.
24       47. Sec. 6428 (g)(3) demonstrates that Congress was aware that the Stimulus
25 Checks would be generally unavailable to qualified individuals who are married to
26 and jointly file their taxes with non-citizens who lack a social security number.
27        48.    In the weeks following passage of the CARES Act, the U.S. economy
28 continued to contract because of the COVID-19 pandemic. Across the U.S., states
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 1 shut down schools and businesses and ordered residents to stay at home to slow the
 2 spread of the coronavirus. See Which States Are Reopening and Which Are Still Shut
 3 Down, THE NEW YORK TIMES (April 27, 2020) https://www.nytimes.com/interactive/
 4 2020/us/states-reopen-map-coronavirus.html (last visited April 29, 2020).
 5        49.    On April 23, 2020, the U.S. Department of Labor reported that the
 6 advance seasonally adjusted insured unemployment rate was 11% for the week
 7 ending April 11. News Release, Unemployment Insurance Weekly Claims, U.S.
 8 DEPARTMENT OF LABOR (April 23, 2020), https://www.dol.gov/ui/data.pdf (last
 9 visited April 29, 2020). The number of initial jobless claims totaled 4.2 million in the
10 week ending April 18.
11        50.    The U.S. is now the country with the highest number of reported
12 COVID-19 cases. Coronavirus Map: Tracking the Global Outbreak, THE NEW YORK
13 TIMES (April 27, 2020), https://www.nytimes.com/interactive/2020/world/
14 coronavirus-maps.html?action=click&pgtype=Article&state=default&module=styln-
15 coronavirus&variant=show&region=TOP_BANNER&context=storyline_menu (last
16 visited April 29, 2020).
17        51.    Federal law generally requires all wage earners to file tax returns and use
18 an identification number. I.R.C. § 1. Individuals apply for ITIN by submitting a W-7
19 form and a completed tax return to the IRS. I.R.C. § 6109. The W-7 form requires
20 applicants to prove their identity and foreign status with any of 13 acceptable
21 documents by the IRS, such as a passport or a birth certificate. Instructions for Form
22 W-7, INTERNAL REVENUE SERVICE (Sept. 2019), https://www.irs.gov/pub/irs-
23 pdf/iw7.pdf (last visited April 29, 2020).
24        52.    The ITIN application process is not an immigration enforcement tool,
25 and the IRS is prohibited by law from sharing any taxpayer information with any
26 other governmental agencies. I.R.C. § 6103(a). An estimated 4.3 million adults file
27 taxes using an ITIN. How the Tax Rebate in the Senate’s Bill Compares to Other
28 Proposals, INSTITUTE ON TAXATION AND ECONOMIC POLICY (March 25, 2020),
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 1 https://itep.org/how-the-tax-rebate-in-the-senates-bill- compares-to-other-proposals/
 2 (last visited April 29, 2020).
 3        53.    The IRS estimates ITIN tax filers pay over $9 billion in annual payroll
 4 taxes. IRS Nationwide Tax Forum: Immigration and Taxation, INTERNAL REVENUE
 5 SERVICE (2014), https://www.irs.gov/pub/irs-utl/20-Immigration%20and%20
 6 Taxation.pdf (last visited April 29, 2020).
 7        54.    The CARES Act and Defendants’ failure to provide Plaintiff her
 8 Stimulus Check disparages Plaintiff’s choices and diminishes her personhood. By
 9 denying Plaintiff and other Mixed-status Families their Stimulus Checks, the CARES
10 Act and Defendants force Plaintiff and her children to suffer the stigma of knowing
11 her family is adversely treated compared to other families. The CARES Act and
12 Defendants humiliate Plaintiff and the children of Mixed-status Families, including
13 hers, by treating them adversely as compared to other families.
14        55.    In addition, requiring Mixed-status Families to file their tax returns as
15 married filing separately for the putative Class Member to be entitled to the Stimulus
16 Check has the consequence of higher tax rate and reduction in credits and deductions
17 that would otherwise be available if the putative Class Member filed taxes under the
18 married filing jointly status. See Corbin Blackwell, CFP, Married Filing Separately:
19 Marriage Tax Benefit or Penalty?, BETTERMENT (January 25, 2019),
20 https://www.betterment.com/resources/married-filing-separately (last visited April
21 30, 2020); see also Andrea Woroch, Married Couples: Is It Better to File Taxes
22 Jointly or Separately?, U.S. NEWS MONEY (January 6, 2020), https://money.usnews.
23 com/money/personal-finance/taxes/articles/married-couples-is-it-better-to-file-taxes-
24 jointly-or-separately (last visited April 30, 2020).
25        56. Further, requiring Mixed-status Families to file their tax returns as
26 married filing separately means that Mixed-status Families will be severely
27 disadvantaged in proving the legitimacy of their marriage for the purposes of lawful
28 immigration. See Blackwell, supra; see also Halina Schiffman-Shilo, Opinion: The
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 1 Cruelties of the COVID-19 Stimulus Bill, CITYLIMITS.ORG (April 3, 2020),
 2 https://citylimits.org/2020/04/03/opinion-the-cruelties-of-the-covid-19-stimulus-bill/
 3 (last visited May 4, 2020).
 4                           CLASS ACTION ALLEGATIONS
 5         57.   Plaintiff brings this claim individually and on behalf of the following
 6 putative class (the “Class”), pursuant to Federal Rule of Civil Procedure 23:
 7               All United States Citizens married to immigrants that file
 8               joint taxes wherein the immigrant-spouses file tax returns
 9               using an Individual Taxpayer Identification Number who
10               would have otherwise qualified for the Stimulus Check.
11 Plaintiff reserves the right to amend the Class and any potential subclass definitions if
12 further investigation and discovery indicate that the Class and potential subclass
13 definitions should be narrowed, expanded, or otherwise modified. Excluded from the
14 Class and potential subclass are any judge, justice, or judicial officer presiding over
15 this matter and the members of their immediate families and judicial staff.
16         58.   The Class is so numerous that joinder of all individual members
17 (individually, “Class Member” or collectively, “Class Members”) in one action would
18 be impracticable, given the expected Class size and modest value of individual
19 claims.
20         59.   There are more than 1.2 million Americans that are married to
21 immigrants who lack Social Security numbers.
22         60.    Of the 1.2 million Americans, those who file joint tax returns and are
23 not in the military would meet the above-referenced Class definition.
24        61. The Migration Policy Institute reported that 4.1 million U.S. Citizen
25 children live with at least one undocumented immigrant parent. U.S. Randy Capps,
26 Michael Fix, and Jie Zong, A Profile of U.S. Children with Unauthorized Immigrant
27 Parents, MIGRATION POLICY INSTITUTE (January 2016), https://www.migrationpolicy.
28
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1 org/research/profile-us-children-unauthorized-immigrant-parents (last visited April
2 29, 2020).
3        62.   Class Members can be identified through Defendants’ records.
4        63.   Plaintiff’s claims are typical of the claims of the Class Members, as they
5 are based on the same legal theory and arise from the same unlawful conduct.
6        64.   There are common questions of law and fact affecting Class Members,
7 which common questions predominate over questions that may affect individual
8 members. These common questions include, but are not limited to:
9              a. Whether and to what extent Defendants have deprived Class
10                 Members of their First Amendment Rights; Equal Protection and Due
11                 Process under the Law;
12             b. Whether and to what extent Defendants have deprived Class
13                 Members of their property interest;
14             c. Whether and to what extent Defendants have deprived Class
15                 Members of their rights, privileges, and/or immunities secured by the
16                 Constitution of the United States;
17             d. Whether Section 2101 of the CARES Act, which enacted 26 U.S.C. §
18                 6428 (g)(1)(B), violates the U.S. Constitution by discriminating
19                 against individuals with social security numbers who are married to
20                 individuals who lack social security numbers;
21             e. Whether Plaintiff and the Class suffered harm as a result of
22                 Defendants’ unlawful policies and/or practices and enforcement of 26
23                 U.S.C. § 6428 (g)(1)(B), as enacted by the CARES Act;
24             f. Whether Class Members are entitled to actual damages, statutory
25                 damages, and/or punitive damages as a result of Defendants’
26                 wrongful conduct;
27
28
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 1               g. Whether Class Members are entitled to equitable and injunctive relief
 2                   to redress the imminent and currently ongoing harm faced as a result
 3                   of their exclusion from the CARES Act;
 4               h. What the scope of a resulting permanent injunction would include;
 5                   and
 6               i. Whether or not Class Members are entitled to Declaratory Judgment
 7                   relating to their classification and exclusion, among others, under the
 8                   CARES Act.
 9         65.   The claims alleged by the named individual Plaintiff are typical of the
10 claims of the Class because the challenged statutory provision applies with the same
11 force to the named individual Plaintiff as they do to all other members of the Class.
12         66.   Plaintiff will fairly and adequately represent the Class Members.
13 Plaintiff has no interests that conflict with the interests of Class Members. Plaintiff
14 possesses a strong personal interest in the subject matter of this lawsuit and the claims
15 raised. Plaintiff has retained counsel experienced in handling civil rights cases, class
16 actions, federal litigation, and litigation involving constitutional law. Counsel has the
17 legal knowledge and resources to represent fairly and adequately in the interests of all
18 Class Members in this action. Neither Plaintiff nor her counsel have any interests that
19 might cause them not to pursue these claims vigorously.
20         67.   The universe of people affected by the CARES Act’s and Defendants’
21 unlawful policy and/or practice is ascertainable through Defendants’ records and,
22 therefore, the Class is ascertainable.
23       68. This action should be maintained as a class action because the
24 prosecution of separate actions by individual Class Members would create a risk of
25 inconsistent or varying adjudications with respect to individual members that would
26 establish incompatible standards of conduct for the parties opposing the Class.
27 Defendants also have acted or failed to act on grounds that generally apply to all
28 Class Members, necessitating the declaratory and relief Plaintiff seeks. In addition,
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 1 questions of law and fact common to Class Members predominate over questions
 2 affecting only individual Class Members. A class action is superior to other available
 3 methods for fairly and efficiently adjudicating the controversy because, among other
 4 things, a class action would concentrate a multiplicity of individual actions, which
 5 share common facts and legal disputes, in a single forum.
 6                                       COUNT I
 7        Violation(s) of the Fifth Amendment to the United States Constitution
                            (On Behalf of Plaintiff and the Class)
 8
 9         69.    Plaintiff re-alleges and incorporates paragraphs 1-68 of this Complaint
10 as though fully set forth herein.
11       70. Defendants, acting under color of law, have violated rights secured to
12 Plaintiff by the Fifth and Fourteenth Amendments to the United States Constitution
13 including the right to due process of law, the right to equal protection under the law,
14 and the penumbra of privacy rights created by the First, Third, Fourth, and Fifth
15 Amendments that creates a fundamental right to marriage. Specifically, Defendants
16 have failed, as applied to Plaintiff, to treat her as equal to her fellow United States
17 citizens based solely on whom she chose to marry.
18 I.      Substantive Due Process
19         71.    The Fifth Amendment to the United States Constitution provides that no
20 person shall be “deprived of life, liberty or property without due process of law.” U.S.
21 Const. amend. V.
22         72.    The Supreme Court has reiterated in numerous contexts that the right to
23 marry is a fundamental right under the Due Process Clause. See, e.g., M. L. B. v. S. L.
24 J., 519 U.S. 102, 116, 117 S. Ct. 555, 136 L. Ed. 2d 473 (1996); Cleveland Bd. of
25 Ed. v. LaFleur, 414 U.S. 632, 639-640, 94 S. Ct. 791, 39 L. Ed. 2d 52
26 (1974); Griswold, supra, at 486, 85 S. Ct. 1678, 14 L. Ed. 2d
27 510; Skinner v. Oklahoma ex rel. Williamson, 316 U.S. 535, 541, 62 S. Ct. 1110, 86
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                                       CLASS ACTION COMPLAINT
 1 L. Ed. 1655 (1942); Meyer v. Nebraska, 262 U.S. 390, 399, 43 S. Ct. 625, 67 L. Ed.
 2 1042 (1923).
 3         73.   Discrimination based on the fundamental right to marry is presumptively
 4 unconstitutional and subject to strict scrutiny.
 5         74.   The Fifth Amendment to the U.S. Constitution protects freedom of
 6 personal choice in matters of marriage and family life.
 7         75.   The Defendants, in their individual and official capacities as President of
 8 the United States, Senator and Sponsor of the CARES Act in the United States,
 9 Acting Secretary of the U.S. Department of Treasury, Commissioner of Internal
10 Revenue, the U.S. Department of the Treasury, the Internal Revenue Service, and the
11 United States of America, violated Plaintiff’s substantive due process rights and
12 deprived Plaintiff of her rights, privileges, and/or immunities secured by the
13 Constitution of the United States.
14         76.   The Defendants have irreparably injured Plaintiff by engaging and
15 continuing to engage in behavior that violates Plaintiff’s constitutional property
16 interest rights individually and as a taxpayer in the United States.
17         77.   26 U.S.C. § 6428 (g)(1)(B)’s exclusion of Plaintiff from the category of
18 those citizens entitled to receive a Stimulus Check, based only on to whom she
19 married, “slic[es] deeply into the family itself.” Moore v. City of E. Cleveland, Ohio,
20 431 U.S. 494, 498 (1977). On its face, and as applied, 26 U.S.C. § 6428 (g)(1)(B)
21 selects certain categories of married individuals who may receive a Stimulus Check
22 and declares that others may not. In particular, 26 U.S.C. § 6428 (g)(1)(B) denies a
23 Stimulus Check to Plaintiff based on her choice to marry an individual who lacks a
24 social security number.
25        78. 26 U.S.C. § 6428 (g)(1)(B) threatens Plaintiff’s freedom of choice in
26 personal matters related to marriage and family, including the sanctity of Plaintiff’s
27 interest in defining her family through personal choice.
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                                               - 16 -
                                      CLASS ACTION COMPLAINT
 1         79.      26 U.S.C. § 6428 (g)(1)(B) intentionally and substantially infringes upon
 2 and unduly burdens Plaintiff’s liberty interests, as well as other interests that form the
 3 basis of Plaintiff’s fundamental right to marry and to choose how to define her
 4 family.
 5         80.      Plaintiff’s choice of whom to marry is fundamental to her autonomy,
 6 dignity, and self-determination. 26 U.S.C. § 6428 (g)(1)(B)’s exclusion of Plaintiff
 7 from receiving a Stimulus Check unduly interferes with Plaintiff’s fundamental rights
 8 and liberty interests, is arbitrary, unfair, and unreasonable, and lacks an adequate
 9 justification.
10         81.      As a proximate result of Defendants’ conduct, Plaintiff suffered injury to
11 her constitutional rights under the Fifth Amendment’s Due Process Clause.
12         82.      Defendants’ violations have caused and will cause Plaintiff harm.
13 II.     Equal Protection Clause
14         A.       Social Security Number Holder Married to ITIN Holder-Suspect
15                  Class
16         83.      The Fifth Amendment to the United States Constitution guarantees all
17 persons equal treatment under the law. The right to marry is secured by the Equal
18 Protection Clause.
19         84.      The Fourteenth Amendment to the United States Constitution,
20 enforceable pursuant to 42 U.S.C. § 1983, provides that no state shall “deny to any
21 person within its jurisdiction the equal protection of the laws.” U.S. Const. amend.
22 XIV, § 1. In addition, the Privileges and Immunities Clause of the Fourteenth
23 Amendment states that “the citizens of each state shall be entitled to all privileges and
24 immunities of citizens in the several states.” U.S. Const. amend. XIV, § 1 Clause 2.
25 Although the Fourteenth Amendment expressly applies to the States, it has been
26 construed to apply to the Federal Government through the Reverse Incorporation
27 Doctrine under Bolling v. Sharpe, 347 U.S. 497 (1954) and its progeny. See Brown v.
28 Board of Education of Topeka, 347 U.S. 483 (1954); Adarand Constructors, Inc. v.
                                                 - 17 -
                                        CLASS ACTION COMPLAINT
 1 Peña, 515 U.S. 200 (1995) (applying strict scrutiny to the federal government based
 2 on equal protection grounds).
 3         85.   26 U.S.C. § 6428 (g)(1)(B), on its face and as applied to Plaintiff,
 4 violates the equal protection guarantee of the Fifth Amendment by burdening
 5 Plaintiff’s fundamental right to marry in a way that offends basic principles of justice
 6 and of equality. Marriage has long been regarded as a fundamental right, the
 7 foundation of the family and of society. It embraces the right to personal choice and
 8 individual autonomy, and dignifies couples who define themselves by their
 9 commitment to each other.
10         86.   Plaintiff is a U.S. citizen and has lawfully filed taxes in the United
11 States, yet she is being denied the rights and privileges of citizenship under the
12 CARES Act.
13         87.   Similarly situated U.S. citizens and Social Security Number Holders
14 who are not married to immigrants and who filed joint tax returns have not been
15 denied such rights and privileges under the CARES Act.
16         88.   Plaintiff brings this action against Defendants in their individual and
17 official capacities for purposes of seeking declaratory and injunctive relief and
18 challenges the Defendants’ practices and policies of discrimination both facially and
19 as applied to her, individually and as the putative Class Plaintiff.
20         89.   As a direct result of 26 U.S.C. § 6428 (g)(1)(B), as enacted by the
21 CARES Act, the federal government treats Plaintiff, who is legally married,
22 differently than other married couples simply because her spouse lacks a social
23 security number. As a result of this disparate treatment, Plaintiff is excluded from the
24 category of citizens entitled to receive a Stimulus Check. 26 U.S.C. § 6428 (g)(1)(B)
25 also infringes on Plaintiff’s right to enjoy all the benefits of marriage afforded to
26 other married couples.
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                                               - 18 -
                                      CLASS ACTION COMPLAINT
 1         90.   Defendants cannot justify creating this classification that singles out one
 2 class of married individuals with social security numbers and subjects them to
 3 disparate and injurious treatment based solely on whom they have chosen to marry.
 4         91.   Defendants intentionally discriminate against Plaintiff when they enforce
 5 this Exclusion Provision that infringes on the exercise of a fundamental right.
 6         92.   As a proximate result of Defendants’ conduct, Plaintiff suffered injury to
 7 her constitutional rights under the Fifth Amendment’s Equal Protection Clause.
 8         93.   Defendants’ violations have caused and will cause Plaintiff harm.
 9         B.    Alienage-Suspect Class
10         94.   “[Classifications] based on alienage, like those based on nationality or
11 race, are inherently suspect and subject to close judicial scrutiny. Aliens as a class are
12 a prime example of a ‘discrete and insular’ minority . . . for whom such heightened
13 judicial solicitude is appropriate.” Graham v. Richardson, 403 U.S. 365, 372
14 (1971) (footnotes and citations omitted).
15         95.   Discrimination based on the alienage of a U.S. citizen’s spouse is
16 presumptively unconstitutional and subject to strict scrutiny.
17         96.   Defendants discriminate against Plaintiff on the basis of the alienage of
18 her spouse.
19         97.   The Exclusion Provision, on its face and as applied, or threatened to be
20 applied, violates the Due Process Clause of the Fifth Amendment; Equal Protection
21 and Privileges and Immunities under the Fourteenth Amendment under the Reverse
22 Incorporation Doctrine; and the well-established fundamental right to marry.
23       98. Defendants have no compelling interest justifying their policies of
24 discrimination based on the marriage to a non-U.S. Citizen, and they cannot show
25 that this suspect class is necessary to serve any legitimate governmental interest.
26         99.   The Defendants treat Plaintiff differently than U.S. Citizens who marry
27 other U.S. Citizens, who are otherwise similarly situated to Plaintiff.
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                                               - 19 -
                                      CLASS ACTION COMPLAINT
1          100. Sec. 6428 is not narrowly tailored to advance a compelling government
2 interest, nor is it rationally related to any legitimate government interest.
3          101. As a proximate result of Defendants’ conduct, Plaintiff suffered injury to
4 her constitutional rights under the Fifth Amendment’s Equal Protection Clause.
5          102. Defendants’ violation has caused and will cause Plaintiff harm.
6          103. Accordingly, the Exclusion Provision of the CARES Act violates Due
7 Process Clause of the Fifth Amendment to the United States Constitution; Equal
8 Protection and Privileges and Immunities under the Fourteenth Amendment under the
9 Reverse Incorporation Doctrine; and the well-established fundamental right to marry.
10                                       COUNT II
11         Violation(s) of the First Amendment to the United States Constitution
                            (On Behalf of Plaintiff and the Class)
12
           104. Plaintiff re-alleges and incorporates paragraphs 1-103 of this Complaint
13
     as though fully set forth herein.
14
           105. The First Amendment to the U.S. Constitution states: “Congress shall
15
     make no law respecting an establishment of religion, or prohibiting the free exercise
16
     thereof; or abridging the freedom of speech, or of the press; or the right of the people
17
     peaceably to assemble, and to petition the Government for a redress of grievances.”
18
     U.S. Const. amend. I.
19
           106. Specific guarantees in the Bill of Rights have penumbras, formed by
20
     emanations from those guarantees that help give them life and substance. Various
21
     guarantees create zones of privacy. The right of association contained in the
22
     penumbra of the First Amendment is one of those fundamentally protected zones of
23
     privacy. Griswold v. Connecticut, 381 U.S. 479, 480, 85 S. Ct. 1678, 1679 (1965).
24
           107. The right of privacy first achieved constitutional stature in Griswold v.
25
     Connecticut, 381 U.S. 479, 14 L. Ed. 2d 510, 85 S. Ct. 1678 (1965), wherein the
26
     Griswold Court began by noting that “specific guarantees in the Bill of Rights have
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28
                                                  - 20 -
                                         CLASS ACTION COMPLAINT
 1 penumbras, formed by emanations from those guarantees that help give them life and
 2 substance.” 381 U.S. at 484.
 3         108. The Griswold opinion stressed the sanctity of marriage lying within the
 4 zone of privacy created by several fundamental constitutional guarantees. Griswold v.
 5 Connecticut, 381 U.S. 479, 485, 85 S. Ct. 1678, 1682 (1965)
 6         109. Defendants discriminate against Plaintiff and the Class on the basis of
 7 their protected sanctity of marriage—a fundamental right.
 8         110. The CARES Act provision at issue, on its face and as applied, or
 9 threatened to be applied, violates the First Amendment of the United States
10 Constitution.
11         111. As a direct result of 26 U.S.C. § 6428 (g)(1)(B), the federal government
12 treats Plaintiff, who is legally married, differently than other married couples simply
13 because her spouse lacks a social security number. As a result of the disparate
14 treatment, Plaintiff is excluded from receiving a Stimulus Check. 26 U.S.C. § 6428
15 (g)(1)(B) also infringes on Plaintiff’s right to enjoy all the benefits of marriage
16 afforded to other married couples.
17         112. Defendants cannot justify creating this classification that singles out one
18 class of married individuals with social security numbers and subjects them to
19 different treatment based on whom they marry.
20         113. Defendants intentionally discriminate against Plaintiff when they enforce
21 the Exclusion Provision of the CARES Act that infringes on the zone of privacy.
22         114. Defendants have no compelling interest justifying their policies of
23 discrimination based on marriage, and they cannot show that these classifications are
24 necessary to serve any legitimate governmental interest.
25         115. The Defendants treat Plaintiff differently than married U.S. Citizens who
26 file jointly with their U.S. Citizen and/or Social Security Holder spouses, who are
27 otherwise similarly situated to Plaintiff.
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                                                - 21 -
                                       CLASS ACTION COMPLAINT
 1        116. The CARES Act singles out law-abiding and tax-paying U.S. Citizens
 2 by denying them a benefit they and their children would otherwise be entitled to with
 3 no compelling interest justifying the law and without serving any legitimate
 4 governmental interest.
 5        117. Sec. 6428(g) is not narrowly tailored to advance a compelling
 6 government interest, nor is it rationally related to any legitimate government interest.
 7        118. As a proximate result of Defendants’ conduct, Plaintiff suffered injury to
 8 her constitutional rights under the First Amendment’s Freedom of Association
 9 Clause.
10        119. Defendants’ violation has caused and will cause Plaintiff harm.
11        120. Accordingly, the Section 2101 of the CARES Act, by enacting Sec.
12 6428(g)(1)(B) violates the First Amendment to the United States Constitution.
13                                     COUNT III
14                  Action for Temporary Restraining Order (“TRO”);
                       Preliminary and Permanent Injunction; and
15
                         Declaratory Relief Against All Defendants
16                         (On Behalf of Plaintiff and the Class)
17        121. Plaintiff re-alleges and incorporates paragraphs 1-120 of this Complaint
18 as though fully set forth herein.
19       122. Plaintiff seeks the entry of a temporary restraining order, preliminary
20 and permanent injunction, and Declaratory Relief, including but not limited to the
21 following:
22               a. Issue a temporary, preliminary and permanent injunction against the
23                  Defendants and all those acting in concert prohibiting enforcement of
24                  the laws, as applied, at issue in this action; and
25               b. Issue a declaratory judgment that the Exclusion Provision of the
26                  CARES Act, as applied to Plaintiff and the Class, violates the
27                  constitutional and statutory rights of Plaintiff and denies Plaintiff the
28                  privileges and immunities to which she would otherwise be entitled.
                                               - 22 -
                                      CLASS ACTION COMPLAINT
 1           123. Plaintiff has no adequate remedy at law and is suffering irreparable
 2 harm. There is no risk of harm to the Defendants should this Court grant an injunction
 3 prohibiting enforcement of the Exclusion Provision as enacted by the CARES Act.
 4 Meanwhile, the harm to Plaintiff is severe. The public interest is clearly served by
 5 this Court acting to order recognition of U.S. Citizens and their children consistent
 6 with the manner in which the Federal Government treats similarly situated U.S.
 7 Citizens, without regard to their marital status. Only prompt action by this federal
 8 Court ordering declaratory and injunctive relief will serve the public interest.
 9           124. Injunctive relief is appropriate under the circumstances because
10 Defendants have intentionally excluded otherwise eligible U.S. Citizens from
11 receiving the Stimulus Check and, more damaging, excluding them from a benefit
12 conferred upon all other U.S. Citizens simply because of whom they chose to marry,
13 which is facially discriminatory and retributive.
14           125. Plaintiff has suffered, and will continue to suffer, immediate and
15 irreparable harm by reason of the conduct described above. Such immediate and
16 irreparable harm includes, but is not limited to, the loss of a minimum of $1,200.00
17 U.S. Dollars and a loss of privacy, reputation in the community, and dignity.
18           126. Plaintiff does not have an adequate remedy at law to protect and re-
19 establish the rights which currently have been, and continue to be, violated by
20 Defendants’ actions. Plaintiff’s rights cannot be obtained except through injunctive
21 relief.
22           127. Entering the injunctive relief that Plaintiff is seeking will cause the
23 Defendants no harm.
24      128. Defendants will suffer no loss, if compelled to act in accordance with the
25 law, by refraining from discriminating against U.S. Citizens based upon their marital
26 status to immigrants.
27           129. There is a reasonable likelihood that the Plaintiff will succeed on the
28 merits of his claims.
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                                        CLASS ACTION COMPLAINT
1                                PRAYER FOR RELIEF
2        WHEREFORE, Plaintiff JANE DOE, individually and on behalf of the
3 proposed Class, by and through her attorneys, Blaise & Nitschke, P.C., prays for
4 relief as follows:
5        a. For an Order certifying this action as a class action and appointing Plaintiff
6           and her Counsel to represent the Class;
7        b. An Order granting Blaise & Nitschke, P.C. and *Khalaf & Abuzir, LLC as
8           class counsel;
9        c. A temporary, preliminary and/or permanent injunction against the
10          Defendants, and all those acting in concert, prohibiting enforcement of the
11          laws as written and instead applying the provision as follows;
12            i.   Issuing a Temporary Restraining Order directing that Section 2101 of
13                 the CARES Act be applied as follows:
14                 “(a) In General.—Subchapter B of chapter 65 of subtitle F of the
15                 Internal Revenue Code of 1986 is amended by inserting after section
16                 6427 the following new section:
17                 SEC. 6428. 2020 RECOVERY REBATES FOR INDIVIDUALS
18                 [. . .]
19                 “(h) Identification Number Requirement.—
20                 “(1) IN GENERAL.—No credit shall be allowed under subsection (a)
21                 to an eligible individual who does not include on the return of tax for
22                 the taxable year—
23                 “(A) such individual’s valid identification number,
24                 “(B) in the case of a joint return, the valid identification number such
25                 individual’s spouse for at least one of the filing spouses, and
26                 “(C) in the case of any qualifying child taken into account under
27                 subsection (b)(1)(B), the valid identification number of such
28                 qualifying child.
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                                       CLASS ACTION COMPLAINT
1              “(2) VALID IDENTIFICATION NUMBER.—
2              “(A) IN GENERAL.—For purposes of paragraph (1), the term ‘valid
3              identification number’ means a social security number (as such term
4              is defined in section 24(h)(7)).
5        ii.   Issuing a Preliminary and Permanent Injunction amending the
6              CARES Act as identified above and enjoining Defendants from
7              affixing any new terms to the CARES Act, or any future legislation
8              designed to provide economic stimulus to United States citizens that
9              excludes mixed immigration status families.
10   d. A determination that the Exclusion Provision, as enacted by Section 2101 of
11      the CARES Act, is unconstitutional and should not be enforced;
12   e. Issue a declaratory judgment that Section 2101 of the CARES Act, enacting
13      Sec. 6428(g), is subject to strict scrutiny;
14   f. Issue a declaratory judgment that Section 2101 of the CARES Act, enacting
15      Sec. 6428(g), as applied to the Plaintiff, violates the constitutional and
16      statutory rights of Plaintiff;
17   g. Issue a declaratory judgment striking from the CARES Act those provisions
18      that are violative of the protections afforded to Plaintiff and those similarly
19      situated under the United States Constitution, federal statutes, and those
20      cases interpreting the same under which this Court is bound under the
21      principles of stare decisis;
22   h. Enter an Order requiring the Defendants to hold in escrow or otherwise
23      earmark sufficient funds for the issuance of Stimulus Checks to members of
24      the Class;
25   i. For an award of attorneys’ fees and costs; and
26   j. Such other and further relief as this court may deem just and proper.
27                                JURY DEMAND
28   Plaintiff respectfully demands a trial by jury of all matters so triable.
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                                 CLASS ACTION COMPLAINT
1                      DOCUMENT PRESERVATION DEMAND
2        Plaintiff hereby demands that Defendants take affirmative steps to preserve all
3 recordings, data, documents, and all other tangible things that relate to Plaintiff and
4 the Class and the events described herein. These materials are likely very relevant to
5 the litigation of this claim. If Defendants are aware of any third party that has
6 possession, custody, or control of any such materials, Plaintiff demands that
7 Defendants ensure, by whatever lawful means necessary, that such third party also
8 take steps to preserve the materials. This demand shall not narrow the scope of any
9 independent document preservation duties of the Defendants.
10                      NOTICE OF LIEN AND ASSIGNMENT
11       All rights relating to attorneys’ fees have been assigned to counsel.
12
13 DATED: May 6, 2020                      Respectfully submitted,

14                                         JANE DOE, individually and on behalf of
15                                         others similarly situated.
16
                                            /s/ Heather L. Blaise
17                                         HEATHER L. BLAISE, ESQ. (SBN 261619)
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19                                         Chicago, IL 60606
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22
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24                                         Thomas J. Nitschke (IL Bar No. 6225740) *
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                                     CLASS ACTION COMPLAINT
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          * Application for admission pro hac vice
10        forthcoming
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     CLASS ACTION COMPLAINT
